Case 4:07-cv-05944-JST Document 3745-6 Filed 03/06/15 Page 1 of 3




           EXHIBIT 5
     UNREDACTED COPY
     FILED UNDER SEAL
                Case 4:07-cv-05944-JST Document 3745-6 Filed 03/06/15 Page 2 of 3


Hansen, Joseph C.

From:                             Heaven, Astor <AHeaven@crowell.com>
Sent:                             Friday, March 06, 2015 7:28 AM
To:                               Hansen, Joseph C.; Murphy, Jerome
Cc:                               Brass, Rachel S.; Schwing, Austin; McNary, Robert
Subject:                          RE: In re CRT, MDL 1917 - Frankel intermediate data file
Attachments:                      a.dta; HIGHLY CONFIDENTIAL PROGRAM EXCERPT.DOCX; FW: In re Cathode Ray Tube
                                  (CRT) Antitrust Litigation; MDL No. 1917


Joe-
 We are attaching the transmittal email of June 19, 2014 where we provided the link to the backup production.




Best,
Astor
____________________________________

Astor H.L. Heaven
aheaven@crowell.com
Direct 1.202.624.2599 |Cell 1.301.237.7805

Crowell & Moring LLP | www.crowell.com
1001 Pennsylvania Avenue NW
Washington, DC 20004

From: Hansen, Joseph C. [mailto:JHansen@gibsondunn.com]
Sent: Thursday, March 05, 2015 7:38 PM
To: Murphy, Jerome; Heaven, Astor
Cc: Brass, Rachel S.; Schwing, Austin
Subject: In re CRT, MDL 1917 - Frankel intermediate data file

Dear Jerry and Astor,

On page 5 of your opposition brief to Chunghwa’s motion in limine to exclude opinions regarding actual damages, you
state that “In connection with Exhibit 20b
                                                   The accompanying declaration from Dr. Frankel states that

                                                                            We do not have any record of receiving that
file as represented, but our records could be wrong. If you could you please resend us a copy of the original transmittal
of that file today or before 12:00 PST tomorrow, that would be most appreciated.

Sincerely,
Joe


Joseph C. Hansen

GIBSON DUNN
                                                            1
                Case 4:07-cv-05944-JST Document 3745-6 Filed 03/06/15 Page 3 of 3

Gibson, Dunn & Crutcher LLP
555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8380 • Fax +1 415.374.8438
JHansen@gibsondunn.com • www.gibsondunn.com




This message may contain confidential and privileged information. If it has been sent to you in error, please
reply to advise the sender of the error and then immediately delete this message.




                                                        2
